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       Attorneys for Defendant:
 13    E & I Venture, LLC, a California limited liability
 14    company

 15                        UNITED STATES DISTRICT COURT
 16                      CENTRAL DISTRICT OF CALIFORNIA
 17
        JAMES RUTHERFORD, an                 Case No.: 5:19-cv-02410-CJC-SHK
 18
        individual,
 19                                             JOINT STIPULATION FOR
 20     Plaintiff,                              DISMISSAL OF THE ENTIRE
                                                ACTION WITH PREJUDICE
 21     v.
 22                                          Complaint Filed: December 16, 2019
        E & I VENTURE, LLC, a                Trial Date: None
 23     California limited liability
 24     company; and DOES 1-10,
        inclusive,
 25
 26     Defendants.

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 28

             JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 5:19-cv-02410-CJC-SHK Document 16 Filed 05/18/20 Page 2 of 2 Page ID #:54

  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
  3   Plaintiff JAMES RUTHERFORD (“Plaintiff”) and E & I VENTURE, LLC, a
  4   California limited liability company (“Defendants”), stipulate and jointly request
  5   that this Court enter a dismissal with prejudice of Plaintiff’s Complaint in the
  6   above-entitled action, in its entirety. Each party shall bear his or its own costs and
  7   attorneys’ expenses.
  8
  9         IT IS SO STIPULATED.
 10
                                             Respectfully submitted,
 11
 12                                          MANNING LAW, APC
       DATED: May 15, 2020
 13                                          By: /s/ Joseph R. Manning, Jr.
 14                                            Joseph R. Manning, Jr.
                                               Attorney for Plaintiff
 15                                            James Rutherford
 16
 17
                                             Law Office of Steven A. Simons
 18    DATED: May 15, 2020
                                              By: /s/ Steven A. Simons
 19                                             Steven A. Simons, Esq.
 20                                             Attorneys for Defendant
                                                 E & I VENTURE, LLC, a California
 21                                          limited liability company
 22
 23                  Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
 24         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Joseph R. Manning, Jr., hereby do
 25   attest that all signatories listed, and on whose behalf the filing is submitted, concur
 26   in the filing’s content and have authorized the filing.
 27
 28   DATED: May 15, 2020 By: /s/ Joseph R. Manning, Jr.


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           JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
